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    for Debtor and Debtor-in-Possession

                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEVADA


    In re:                                                                                            Chapter 11 Case Number
         X-TREME BULLETS, INC.,                                                                       Jointly Administered under
                                                                                                      Case No. 18-50609-btb with
         AMMO LOAD WORLDWIDE, INC.,
                                                                                                      Case Nos. 18-50610-btb; 18-50611-btb;
         CLEARWATER BULLET, INC.,
                                                                                                      18-50613-btb; 18-50614-btb; 18-50615-btb;
         FREEDOM MUNITIONS, LLC,                                                                      18-50616-btb; and 18-50617-btb
         HOWELL MACHINE, INC.,
                                                                                                      Professional Fee Statement
         HOWELL MUNITIONS & TECHNOLOGY, INC.,
                                                                                                      Number: 7
         LEWIS-CLARK AMMUNITION COMPONENTS, LLC,
                                                                                                      Month of: December 2018
         COMPONENTS EXCHANGE, LLC, and
         All Debtors.
                                                                  Debtors and
                                                                  Debtors-in-Possession.

1. Name of Professional:                                                                   Winthrop Couchot Golubow Hollander, LLP (“WCGH”)
2. Date of entry of order approving employment of the professional:                        August 6, 2018
3. Total amount of pre-petition payments received by the professional:                     $150,000.001
4. Less: Total amount of pre-petition services rendered and expenses:                      $108,160.00
5. Balance of funds remaining on date of filing of petition:                               $41,840.00
6. Total amount of all services rendered per prior fee statements:                         $14,438.60
7. Total amount of payments received by the professional for post-petition services        $0.00
   rendered by the professional:
8. Total amount of services and expenses this reporting period:                            $159.00

9. Amount authorized to be paid from the Debtor’s estate:                                  $127.202

1 WCGH received a total $150,000 pre-petition retainer for Components Exchange, LLC (“Components Exchange”) and for Debtors X-
Treme Bullets, Inc., Ammo Load Worldwide, Inc., Clearwater Bullet, Inc., Freedom Munitions, LLC, Howell Machine, Inc., Howell
Munitions & Technology, Inc., and Lewis-Clark Ammunition Components, LLC. As disclosed in the WCGH Employment Application,
WCGH’s pre-petition retainer was paid by David C. Howell, an insider of the Debtors, and not by any of the Debtors.
2 The amount listed in line 9 hereof equals 80% of WCGH’s fees ($159.00) incurred on behalf of Components Exchange for the month of

December 2018. (i.e., the monthly payment percentage for which WCGH may apply pursuant to the Order Establishing Monthly
Compensation Procedures [Docket No. 128]). WCGH incurred no costs on behalf of Components Exchange during the applicable time


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10. Total amount to be paid from the Debtor’s estate for this reporting period:      $127.20

 DETAILED DOCUMENTATION SUPPORTING THE FEES EARNED AND THE EXPENSES INCURRED BY WCGH
 DURING THIS REPORTING PERIOD HAS BEEN SERVED ON THE UNITED STATES TRUSTEE, THE DEBTOR, THE
 MEMBERS OF THE CREDITORS’ COMMITTEE AND ITS COUNSEL, AND ANY CREDITORS REQUESTING SPECIAL
 NOTICE IN THIS CASE. A COPY OF THE DETAILED DOCUMENTATION WILL BE PROVIDED BY WCGH TO ANY
 OTHER PARTY UPON WRITTEN REQUEST. FEES AND COSTS WILL BE PAID FROM PROPERTY OF THE DEBTOR’S
 ESTATE IN THE AMOUNT STATED IN ITEM 10 ABOVE UNLESS AN OBJECTION IS FILED WITH THE CLERK OF THE
 COURT AND SERVED UPON WCGH WITHIN 10 DAYS FROM THE DATE OF SERVICE OF THIS STATEMENT.
11. Total number of pages attached hereto:                                           1

The above is a true and correct statement of fees earned and expenses incurred during the indicated reporting period.

                    13 2019
      Dated: March ____,                                                              WINTHROP COUCHOT
                                                                                      GOLUBOW HOLLANDER, LLP

                                                                                      /s/ Robert E. Opera
                                                                                      Robert E. Opera
                                                                                      General Insolvency Counsel
                                                                                      for Debtor and Debtor-in-Possession
                                                                                      Components Exchange, LLC




period. WCGH incurred no fees associated with travel time during the applicable time period.


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